     Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 1 of 11




                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)       1:18-cv-11642-VM-VF

                         Plaintiff,
           -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI, JIA LIAN, XIAO YU,

                         Defendants,
           -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                         Nominal Defendant.



  RECEIVER’S OPPOSITION TO DEFENDANT VINCENT WENYONG SHI’S
MOTION FOR RELIEF FROM ORDER DENYING IN PART REQUEST TO UNSEAL
         Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 2 of 11




                                                   TABLE OF CONTENTS


PRELIMINARY STATEMENT ................................................................................................. 1
ARGUMENT ................................................................................................................................. 4
   I.    Legal Standard ................................................................................................................... 4
   II.    Shi Fails to Present Newly Discovered Evidence That Would Alter The Outcome
          of The Order ...................................................................................................................... 5
   III. Shi Cannot Relitigate The Issue of Whether Documents Should Be Unsealed For
        Purposes Of The Accounting ........................................................................................... 7
CONCLUSION ............................................................................................................................. 9




                                                                      i
      Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 3 of 11




       Robert Seiden (the “Receiver”), in his capacity as the temporary Receiver for Link Motion

Inc. (“LKM”) under the Receivership Order (ECF 26; the “Receivership Order”), by his

undersigned counsel, respectfully submits this Opposition to Defendant Vincent Wenyong Shi’s

(“Shi”) motion for relief from order denying in part request to unseal (ECF 358).

                                 PRELIMINARY STATEMENT

       The Receiver’s agent in Mainland China, Mr. Lilin “Francis” Guo (“Mr. Guo”), agreed to

loan funds to the Receivership pursuant to a note agreement (the “Note Agreement”) that was

approved by the Court and filed under seal with the Court’s approval. See ECF 309 at 2. As the

Receiver previously explained:

               Mr. Guo believed that his physical safety in China would be placed
               at risk if he took actions in China to challenge Defendant Shi’s
               takeover of the Company. Mr. Guo requested that the Receiver file
               the Note Agreement with the Court under seal. Accordingly, the
               Receivership requested that the Note Agreement, and all other
               invoices for the Receivership, be kept under seal[]. The Court
               approved of the Note Agreement and also approved [the Receiver’s]
               request that the Note Agreement be filed under seal.

Id.; see also ECF 71 (in June of 2019 Judge Marrero granted the “compensation incentive

agreement and promissory note between” LKM and Mr. Guo; no objection was filed).

       On March 9, 2022, Judge Freeman issued a report and recommendation (the “R&R”) which

recommended in relevant part that “the receivership should be terminated after an accounting[.]”

See ECF 275 at 1-2.

       On March 22, 2022, the Receiver disclosed publicly, for the first time, that Mr. Guo is an

LKM shareholder. See Dkt 285 at 5. On May 26, Shi filed a letter motion seeking to unseal all

sealed documents filed by the Receiver, including the documents related to Mr. Guo’s Note

Agreement (the “Category 3 Documents”). ECF 306.




                                                1
       Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 4 of 11




       On June 9, the Receiver informed the Court that Mr. Guo was unreachable, that the

Receiver had not had any contact with Mr. Guo since April 14, and that the Receiver feared “Mr.

Guo has disappeared or been kidnapped.” See ECF 309 at 2-3. The Court granted the Receiver

additional time to review the sealed documents and attempt to contact Mr. Guo. ECF 310 at 3.

       Shi’s counsel filed a responsive letter on June 30, 2022. ECF 315. In the letter Shi

“reserve[d] all rights with respect to possible claims and/or accounting concerning” information

related to payments made by Mr. Guo. See ECF 315 at n.1. The Receiver responded on July 8,

explaining that while the Receiver would consent to unseal certain documents, the Receiver could

not consent to unseal the Category 3 Documents because the Receiver was unable to contact Mr.

Guo to obtain his consent. ECF 319 at 2. Specifically, the Receiver explained that:

               In light of Mr. Guo’s sudden and unexplained disappearance for
               over three months in China (as well as the circumstances of this
               action, including the extraordinary misconduct of Defendant Shi
               that [the Receiver] described in [his] June 9 letter), the Receiver is
               concerned that public disclosure of the Note Agreement or
               information concerning Mr. Guo’s compensation may jeopardize or
               gravely aggravate Mr. Guo’s safety. As such, the Receivership is
               unable to consent to the unsealing of the documents related to Mr.
               Guo’s Note Agreement or his compensation.

Id. Shi responded on July 15, arguing in part that the Receiver’s invoices “are required to be made

public as part of the Receiver’s accounting upon his discharge” and denied that release of the

documents would jeopardize or gravely aggravate Mr. Guo’s safety. ECF 322 at 1.

       On August 1, the Court held oral arguments. ECF 326. During the oral arguments Shi’s

counsel argued that the Receiver’s invoices “would have to be disclosed anyway as for the

accounting that was ordered in the” R&R. Id. at 71.

       On August 22, the Court issued an order (the “Order”) holding in relevant part that the

Category 3 Documents be kept under seal “[g]iven Guo’s sudden and unexplained disappearance,



                                                 2
        Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 5 of 11




there is a compelling countervailing interest in maintaining the documents in this category sealed,

in order to protect against potential harm to Guo.” ECF 329 at 8. The Court further found that

disclosing the specific percentage of Mr. Guo’s equity interest in LKM could

               jeopardize Guo’s safety, because it would presumably demonstrate
               that Guo had acted against Shi. Accordingly, the Receiver has met
               his burden of presenting a compelling countervailing factor—the
               potential for physical harm to Guo—that overcomes the
               presumption of public access to the Category 3 Documents.
Id. at 9.

        On September 22, the Receiver informed the Court that an individual (the “Individual”)

had contacted the Hong Kong receiver’s office regarding Mr. Guo. See ECF 351. The Receiver

soon spoke with the Individual, who stated that while he had not spoken with Mr. Guo since April

(roughly the same time when the Receiver lost touch with Mr. Guo), he had spoken with Mr. Guo’s

wife. Id. Mr. Guo’s wife allegedly informed the Individual that she believed that Mr. Guo would

appear in 30-60 days. Id. The Individual further stated that “he believes that Mr. Guo has been

unreachable for reasons unrelated to LKM.” Id. The Receiver cautioned that without an agent in

mainland China, the Receiver “has been unable to confirm the authenticity of the Individual's

statements[.]” Id.

        On October 4, the Receiver provided a further status update to the Court relaying a message

from the Individual, that he believed that Mr. Guo was expected to reappear by the end of October

2022. See ECF 363. The Receiver once again informed the Court that:

               [w]ithout an official agent in mainland China, and with the
               limitations of the [covid] lockdowns, [the Receiver’s] office is
               unable to confirm the veracity of the Individual’s statements
               (including whether he has actually communicated with Mr. Guo’s
               wife), or the reliability of the information that Mr. Guo’s wife
               conveyed to the Individual concerning Mr. Guo’s whereabouts.
Id.




                                                 3
        Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 6 of 11




        The Individual has never filed a sworn statement or appeared in this action. The Receiver

has now had no contact with Mr. Guo for over six months. See ECF 309, 319, 335, 351, 363.

                                           ARGUMENT

   I.      Legal Standard

        A motion pursuant to Federal Rule of Civil Procedure 60(b) (“Rule 60(b)”) “provides

‘extraordinary judicial relief’ and can be granted ‘only upon a showing of exceptional

circumstances.’” Sankara v. City of New York, No. 15-CV-6928 (VSB), 2019 WL 549018, at *1

(S.D.N.Y. Feb. 11, 2019) (citations omitted); see also Martal Cosms., Ltd. v. Int'l Beauty Exch.,

No. CV 01-7595 (SJF) (JO), 2007 WL 2126091, at *9 (E.D.N.Y. July 24, 2007) (“As a general

matter, motions for relief under Rule 60(b)(2) are disfavored, and should not be granted absent

extraordinary circumstances.”). As the Second Circuit has made clear,

               because a motion for reconsideration is itself an extraordinary
               request, [] the underlying standard for a district court to grant[] such
               a       motion         is      strict,      and        reconsideration
               will generally be denied unless the moving party can point to
               controlling decisions or data that the court overlooked and might
               reasonably be expected to alter the conclusion reached by the court

Smith v. CVS Albany, LLC, No. 20-4000, 2022 WL 3022526, at *1 (2d Cir. Aug. 1, 2022) (citations

and quotations omitted) (reviewing a denial of a motion for reconsideration under Fed. R. Civ. P.

60(b)); Schlafman v. State Univ. of New York, Farmingdale, 541 F. App'x 91, 92 (2d Cir. 2013)

(same application under Rule 60(b)).

        Under Rule 60(b), “[a] motion for reconsideration is ‘neither an occasion for repeating old

arguments previously rejected nor an opportunity for making new arguments that could have been

previously advanced.’” Mediavilla v. City of New York, No. 14-CV-8624 (VSB), 2017 WL

4155401, at *1 (S.D.N.Y. Sept. 18, 2017) (citations omitted). Relief under Rule 60(b)(2) will only

be granted where the party demonstrates that the

                                                  4
          Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 7 of 11




                 (1) the newly discovered evidence was of facts that existed at the
                 time of trial or other dispositive proceeding, (2) the movant must
                 have been justifiably ignorant of them despite due diligence, (3) the
                 evidence must be admissible and of such importance that it probably
                 would have changed the outcome, and (4) the evidence must not be
                 merely cumulative or impeaching.

Reese v. United States, 408 F. Supp. 3d 533, 535 (VM) (S.D.N.Y. 2019) (citing United States v.

Int'l Bhd. of Teamsters, 247 F.3d 370, 392 (2d Cir. 2001)). The above “requirements must be

strictly met . . . Moreover, the newly discovered evidence must be ‘highly convincing.’” Apex

Emp. Wellness Servs., Inc. v. APS Healthcare Bethesda, Inc., No. 11 CIV. 9718 (ER), 2017 WL

456466, at *7-8 (S.D.N.Y. Feb. 1, 2017) (citation and quotation omitted) (denying relief pursuant

to Rule 60(b)(2) as the defendant failed to show that the evidence was “of such importance that it

probably would have changed the outcome of the case.”). 1

    II.      Shi Fails to Present Newly Discovered Evidence That Would Alter The Outcome
             of The Order

          To grant relief pursuant to Rule 60(b)(2) a court must find that new facts would have

“altered the outcome of the” order. See In re PBS Foods, LLC, 549 B.R. 586, 600 (Bankr. S.D.N.Y.

2016), aff'd, No. 09-15629 (JLG), 2017 WL 1167377 (S.D.N.Y. Mar. 28, 2017), aff'd, 718 F.

App'x 89 (2d Cir. 2018) (denying relief pursuant to Rule 60(b)(2) as the new information would

not have changed the court’s determination) (citing cases).

          Here, the Order held that the Category 3 documents be kept under seal as
                 Public disclosure of the Note Agreement now would reveal the
                 specific percentage of Guo’s equity interest in LKM . . . That
                 information could further jeopardize Guo’s safety, because it would
                 presumably demonstrate that Guo had acted against Shi.
                 Accordingly, the Receiver has met his burden of presenting a
                 compelling countervailing factor—the potential for physical harm


1
 While Shi’s legal standard and conclusion sections cite to Rule 60(b)(1) & (6), Shi’s motion only makes arguments
under Rule 60(b)(2). See ECF 358 at 6-7.

                                                        5
        Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 8 of 11




                  to Guo—that overcomes the presumption of public access to the
                  Category 3 Documents.

ECF 329 at 8-9 (emphasis added).
         Shi argues that the outcome of the Order would have been different if the Court knew about

the Individual’s statements to the Receiver, because (according to Shi) the Individual’s

communications with the Receiver demonstrate that Mr. Guo’s disappearance is unrelated to LKM.

See ECF 358 at 1, 6.

         Shi fails to demonstrate that the Individual’s communications with the Receiver would

have altered the outcome of the Order. First, the Individual told the Receiver that he has not spoken

with Mr. Guo since late April 2022; therefore, any information that the Individual may have is at

best secondhand. See ECF 351. Second, the Individual merely stated that he “believes” Mr. Guo

is unreachable for reasons unrelated to LKM; the Individual’s unsubstantiated belief does not

conclusively establish whether Mr. Guo’s disappearance is related to LKM. Id. Third, the

Receiver does not know the Individual’s motives or whether he is telling the truth. Indeed, as

stated in the September 22 letter, “[w]ithout an agent in mainland China, [the Receiver’s] office

has been unable to confirm the authenticity of the Individual’s statements[.] See ECF 351. As the

Receiver cannot authenticate the identity of the Individual or the veracity of his statements, the

Individual’s unsubstantiated statements (standing alone) are not a basis to overturn the Order. 2

See S.E.C. v. U.S. Env't, Inc., No. 94 CIV. 6608 (PKL), 2004 WL 2274813, at *4 (S.D.N.Y. Oct.

8, 2004) (defendant failed to meet Rule 60(b)(2)’s “high burden of clear and convincing evidence”

in part because defendant’s “claim is uncorroborated as lacking a sworn statement of one with



2
  The Receiver’s recent status update to the Court submitted on October 4, 2022 further made clear that the Individual
had not recently spoken directly with Mr. Guo and that the Receiver’s office “is unable to confirm the veracity of the
Individual’s statements (including whether he has actually communicated with Mr. Guo’s wife), or the reliability of
the information that Mr. Guo’s wife conveyed to the Individual[.]” See ECF 363.

                                                          6
          Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 9 of 11




personal knowledge”); Tufts v. Corp. of Lloyd's, 981 F. Supp. 808, 812 (S.D.N.Y. 1996), aff'd, 128

F.3d 793 (2d Cir. 1997) (“[A]n action brought under Rule 60(b)(2) must be proven by clear and

convincing evidence[.]”).

             Moreover, even if the Individual is correct and Mr. Guo is currently unreachable for

reasons unrelated to LKM, it does not negate the Order’s conclusion that disclosing the details of

the Note Agreement “could further jeopardize Guo’s safety, because it would presumably

demonstrate that Guo had acted against Shi.” ECF 329 at 8-9. Accordingly, the relief sought by

Shi pursuant to Rule 60(b) should be denied as he has not presented evidence “of such importance

that it probably would have changed the outcome” of the Order. Azkour v. Little Rest Twelve, No.

10-CV-4132 (RJS), 2017 WL 1609125, at *6 (S.D.N.Y. Apr. 28, 2017) (citations and quotations

omitted) (denying motion seeking relief pursuant to Rule 60(b)(2) as the proposed new evidence

would not have altered the order); see also Reese v. McGraw-Hill Companies, Inc., 293 F.R.D.

617, 618 (S.D.N.Y. 2013), aff'd sub nom. Reese v. Bahash, 574 F. App'x 21 (2d Cir. 2014) (same). 3

      III.      Shi Cannot Relitigate The Issue of Whether Documents Should Be Unsealed For
                Purposes Of The Accounting

             Shi’s arguments that documents should be unsealed for purposes of the accounting (see

    ECF 358 at 6-7) could have been (or were) raised before the Order was issued, and cannot be

    relitigated on this motion. See Nastasi & Assocs., Inc. v. Bloomberg, L.P., No. 18-CV-12361

    (JMF), 2020 WL 2555281, at *1 (S.D.N.Y. May 20, 2020) (“[U]nder Rules 59(e) and 60(b)(2) of

    the Federal Rules of Civil Procedure, a party may not seek relief based on evidence that was not



3
  Shi’s citation to United States v. All Assets Held at Bank Julius Baer & Co., 2016 U.S. Dist. LEXIS 197186, at *10
(D.D.C. May 18, 2016) is inapposite. See ECF 358 at 6. In United States the court ordered materials to be redacted.
The motion for reconsideration was granted as the redacted materials had become part of the public record. There is
no such finding here. See United States v. All Assets Held at Bank Julius Baer & Co., Ltd., No. CV 04-798
(PLF/GMH), 2016 WL 11609893, at *3 (D.D.C. May 18, 2016) (“Additionally, now that the fact of the creation of
the Confidential Materials is a matter of public record, there is no justification for keeping it confidential in this case.
This constitutes the sort of outcome-changing evidence that warrants reconsideration.”).

                                                             7
     Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 10 of 11




previously submitted to the Court if the party reasonably could have presented the evidence, but

chose not to.”).

       Significantly, Shi was aware of the accounting long before the motion practice that led to

the Order. Indeed, Shi requested the accounting well over a year ago, on June 11, 2021. ECF

230 at 2. In the March 9, 2022 R&R, Judge Freeman recommended that “The Receiver Should

Be Discharged After an Accounting.” See ECF 275 at 39. Shi then raised the accounting in his

June 30 and July 15, 2022 letters in support of his request to unseal the sealed documents. See

ECF 315 at n.1 (“Dr. Shi reserves all rights with respect to possible claims and/or accounting

concerning” information related to payments made by Mr. Guo); see also 322 at 1 (“The tranche

of documents comprising invoices (classified as Category 2 documents by the Receiver) are

required to be made public as part of the Receiver’s accounting upon his discharge.”). Further,

during oral arguments on August 1, Shi’s counsel argued that the Receiver’s invoices “would

have to be disclosed anyway as for the accounting that was ordered in the” R&R. ECF 326 at 71.

       Having previously cited the accounting as a basis to unseal documents, Shi cannot now

relitigate the Order on that basis. See Mavl Cap., Inc. v. Marine Transp. Logistics, Inc., No. 13-

CV-7110 (PK) (CRLM), 2018 WL 1474175, at *6 (E.D.N.Y. Mar. 26, 2018) (plaintiffs’ attempts

to “get a second bite at the apple . . . is plainly not a basis for vacating an order under Rule

60(b)(2)”); see also In re Mader, No. CV 19-2048 (GRB), 2021 WL 1729472, at *10 (E.D.N.Y.

Mar. 31, 2021) (affirming denial of relief pursuant to Rule 60(b)(2) as the evidence was available

originally).

       There is also no basis for Shi’s argument that the Category 3 Documents should be unsealed

pursuant to “CPLR 6404,” which Shi contends is “made applicable by Fed. R. Civ. P. 66.” See

ECF 358 at 7 (emphasis added). “[I]t is well established in [the Second] Circuit that a receiver's



                                               8
         Case 1:18-cv-11642-VM-VF Document 368 Filed 10/19/22 Page 11 of 11




    accounting is governed by the Federal Rules of Civil Procedure[,]” not the CPLR. S.E.C. v. Am.

    Bd. of Trade, Inc., No. 83 CIV. 6213 (SWK), 1988 WL 30399, at *3 (S.D.N.Y. Mar. 4,

    1988) (citing Phelan v. Middle States Oil Corp., 210 F.2d 360, 364 (2d Cir.1954)). Therefore,

    Shi does not have the “right to inspect the accounts of the Receiver” pursuant to the CPLR and

    his arguments should be disregarded. See ECF 358 at 7. 4

                                                CONCLUSION

          For the foregoing reasons, the Court should deny Shi’s motion for relief and

reconsideration of the Order pursuant to Rule 60(b).

October 19, 2022
New York, NY
                                                             SEIDEN LAW GROUP LLP


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4
 Shi’s contention that the CPLR applies should also be rejected because it is an entirely new argument that cannot
be raised in a Rule 60(b) motion. See Mediavilla, 2017 WL 4155401, at *1 (Rule 60(b) motion is not “an
opportunity for making new arguments that could have been previously advanced”).

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